 

Case 1:07-CV-10639-LAK-A.]P Document 406 Filed 02/24/09 Page 1 of 1

AN GRuBtN & ROGERS, LLP

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Hon. Andrew J. Pock

United States Magistrate .ludge
Southem District of New York
500 Pcarl St. Rm. 1370

New York, NY EOOG'P'»lISlZ

Re: Wi|liam A. Gross Constr. .'~\ssocs. v. Amei‘ican Mi`g. Nlutu:il ins.
07'€\’-1(}639 (LAK) (AJI’)

Deau' Judge Peck:

We submit this letter application seeking to substitute counsel for l\‘iateriats 'I`@sting Lat)
lnc. ("M"l`L"), a fii’tli~party defendant in the abovo»listed action

MTL Wa.s originally represented in this matter by The!en lil.P. Upon 'l`helen l,LP’S
I)ec:cmber l1 2008 dissolution, MTL’S representation moved with the 'i`helen LLP attorneys
handling the matter to Duane Morris LI,P. (See docket # 296.`)

A potential conflict with an existing Duane Morris LLP client has recently been raised,
and consequemly, Wassei'man Grubin & Rogers, LLP has been retained to represent va"l`l. in
place of Dua.ne Morris LLP. Accordingly, W<~: respectfully request that the Court “so ordei"’ this;
substitution of counsel for MTL.

Respectt`ul!y submittcd,

  
  

 

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